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Loehmann's
Liquidation Analysis - Chapter 7 Liquidation Scenarios
$ 000's
                                                                          Estimated                                                    CASE SCENARIO
                                                                          Value as of   $ Amount (000's)
      Recoverable Assets:                                                                                                  LOW                MID             HIGH

a     Cash                                                                 02/28/11       $          2,000             $ 2,000            $ 2,000         $ 2,000

b     Accounts Receivable                                                  02/28/11       $          5,447             $ 4,085            $ 4,357         $ 4,630
                                                                                               Recovery Rate                   75.0%              80.0%           85.0%


c     Inventory (Recovery on Cost)                                         02/28/11       $        45,256              $ 13,577           $ 18,103        $ 22,628
                                                                                               Recovery Rate                   30.0%              40.0%           50.0%


d     Pre-Paid Expenses                                                    02/28/11       $          3,079             $       308        $       462     $       616
                                                                                               Recovery Rate                   10.0%              15.0%           20.0%


e     PP&E Net of Accum Depreciation                                       02/28/11       $        28,926              $ 1,446            $ 2,893         $ 4,339
                                                                                               Recovery Rate                   5.0%               10.0%           15.0%


f     PP&E Recovery Fee                                                                               -25%                 $ (362)            $ (723)     $ (1,085)

g     Intellectual Property                                                02/28/11       $        10,000              $       500        $ 1,000         $ 1,500
                                                                                           Recovery Rate                       5.0%               10.0%           15.0%


h     IP Recovery Fee                                                                                  -5%                 $   (25)           $   (50)        $   (75)

i     Lease Designations                                                   02/28/11       $          3,000             $       300        $       450     $       600
                                                                                           Recovery Rate                       10.0%              15.0%           20.0%


j     Lease Recovery Fees                                                                              -5%                 $   (15)           $   (23)        $   (30)

      Net Recovery before CH. 7 Trustee Fees & Expenses                                                                $ 21,815           $ 28,469        $ 35,123

k     Chapter 7 Trustee Fees                                               02/28/11                                          (678)              (877)         (1,077)
l     Chapter 7 Trustee Expenses (expenses, other professionals, etc.)                               1,500                 (1,500)            (1,500)         (1,500)

      Net Available to Senior Secured Creditors                                                                        $ 19,637           $ 26,091        $ 32,546

m     Amount owed to Secured Creditors - Crystal Financial                 02/28/11      $       24,821                  (24,821)          (24,821)        (24,821)
                                                                         (% of Secured Claims paid)                       79.12%           100.00%         100.00%
      Net Available to Secured Noteholders - A Series                                                                  $     -            $ 1,271         $ 7,725

n     Amount owed to Secured Noteholders - A Series                        02/28/11      $       75,000                  (75,000)           (75,000)        (75,000)
                                                                         (% of Secured Claims paid to Series A)            0.00%              1.69%          10.30%
      Net Available to Secured Noteholders - B Series                                                                  $     -            $     -         $     -

o     Amount owed to Secured Noteholders - B Series                        02/28/11      $       35,000                  (35,000)           (35,000)        (35,000)
                                                                         (% of Secured Claims paid to Series B)            0.00%              0.00%           0.00%
      Net available for remaining Administrative Claims                                                                $     -            $     -         $     -

p     Amounts owed for est. administrative expenses and claims             02/28/11               15,000                 (15,000)           (15,000)        (15,000)
                                                                         (% of Admin. Claims paid)                         0.00%              0.00%           0.00%
      Net available for Priority Unsecured Claims                                                                      $     -            $     -         $     -

q     Priority Unsecured - Pre-Petition Taxes & Employee Claims            11/14/10        $        1,500              $ (1,500)          $ (1,500)       $ (1,500)
                                                                         (% of Priority Unsecured paid)                   0.00%              0.00%           0.00%
      Net available for General Unsecured Claims                                                                       $    -             $    -          $    -

r     Leasehold Liabilities (502(b)6 Claims)                               11/14/10    $          58,701               $(58,701)          $(58,701)       $(58,701)
s     Pre-Petition Accounts Payable                                        11/14/10    $          37,665                (37,665)           (37,665)        (37,665)
                                                                         (% of Claims paid to General Unsecured)          0.00%              0.00%           0.00%


      Clear Thinking Group LLC has relied on information provided by Loehmanns, Inc. and its officers. Clear Thinking Group LLC has not audited any of the
      information provided to us.
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     Chapter 7 Liquidation Assumptions:
a    Cash in bank and store depository accounts
b    Estimate of AR in float from Credit Card processors as of 2/28/11
c    Projected cash recovery on estimated cost value of inventory. Mid-case based on 50% of a "normal" Ch. 11 liquidation scenario.
d    Prepaids estimated based on 10/30/10 balance sheet amount with an estimated recovery value assumed base on insurance refunds.
e    Value of PP&E per 10/30/10 balance sheet estimate (net of accumulated depreciation)
f    Estimated cost to sell PP&E
g    Value associated with selling the Company's trademark, patents, etc.under a forced sale scenario
h    Estimated cost to sell IP
i    Value associated with selling the Company's lease designations under a forced sale scenario
j    Estimated cost to sell Leases
k    Ch. 7 Trustee Fee per Statute calculation
l    Estimated Expenses incurred by UST to manage & wind down estate
m    Estimated loan balance owed to senior DIP lender (Crystal Financial) as of 2/28/11
n    Total Secured Series A Notes as of 11/14/10
o    Total Secured Series B Notes as of 11/14/10
p    Estimated amounts accrued and unpaid administrative expense items
q    Estimated unpaid pre-petition priority taxes, customer and employee claims
r    Estimate - per preliminary 502(b)6 analysis
s    Estimated pre-petition general unsecured non-real estate claims
